      Case: 1:17-cv-09286 Document #: 55 Filed: 08/13/18 Page 1 of 4 PageID #:346




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

DEVON BANK as the Guardian of the Estate of                  )
ALAYNA HIKE, a minor, and                                    )
RHONDA JONES, Individually,                                  )
                                                             )
               Plaintiffs,                                   )      Case No.: 1:17-cv-09286
                                                             )
v.                                                           )
                                                             )
UNITED STATES OF AMERICA, and VHS WEST                       )
SUBURBAN MEDICAL CENTER, INC. d/b/a                          )
WEST SUBURBAN MEDICAL CENTER                                 )
                                                             )
               Defendants.                                   )

                   PLAINTIFFS’ MOTION FOR SCHEDULING ORDER
                            AND TRIAL DATE CERTAIN

        NOW COME, the Plaintiffs, DEVON BANK, as Guardian of the Estate of ALAYNA

HIKE, a Minor and RHONDA JONES, Individually, by and through their attorneys, Beam Legal

Team, LLC, and submit the following Plaintiffs’ Motion for Scheduling Order and Trial Date

Certain. In support thereof, the Plaintiffs would respectfully show unto the court the following:

        1.     Defendants’ negligence caused Alayna Hike to suffer permanent and catastrophic

injuries, including hypoxic ischemic brain damage, neonatal seizures and cerebral palsy.

        2.     Plaintiffs’ initial Complaint in this action was filed on December 27, 2017 (Doc.

1).

        3.     This action has been protracted due to delays regarding discovery. In fact, the

parties recently appeared before Magistrate Finnegan on August 3rd on Plaintiffs’ Motion to

Compel Written Discovery (Doc. 47). By way of example, relevant audit trail records and policies

and procedures – to which Plaintiffs are entitled – have not been produced.




                                                1
    Case: 1:17-cv-09286 Document #: 55 Filed: 08/13/18 Page 2 of 4 PageID #:347




         4.    All fact witness and treater depositions are ordered to be completed by October 31,

2018 (Doc. 27).

         5.    Plaintiffs are currently finalizing their expert witness disclosures, which Plaintiffs

intend to serve on Defendants no later than December 3, 2018.

         6.    On or about March 1, 2018, Plaintiffs and Defendants filed a Joint Initial Status

Report (Doc. 26) which outlined the following proposed expert disclosure dates:

               a.   Plaintiffs’ expert witnesses disclosed by: December 3, 2018
               b.   Plaintiffs’ expert witness depositions completed by: March 1, 2019
               c.   Defendants’ expert witnesses disclosed by: May 1, 2019
               d.   Defendants’ expert witness deposition completed by: August 1, 2019

         7.    Plaintiffs respectfully request that this Court order disclosure deadlines as set forth

above to expedite the discovery process and promote the swift disclosure expert discovery.

         8.    Given the busy schedules of all parties, it would serve the interests of justice,

promote efficiency, and avoid additional unnecessary delays to be proactive in setting a trial date

for this matter as soon as possible. More importantly, the monies sought for medical care and

therapies are much more efficacious if received sooner rather than later. Alayna is an indigent child

of tender years who is now, and will forever be, dependent on others for even the most basic human

needs.

         9.    A trial date in late 2019 would provide more than ample time to complete the

outstanding discovery as outlined above as well as pre-trial procedures.

         10.   Accordingly, Plaintiffs respectfully request that this Honorable Court set a

scheduling order for expert disclosures and depositions, as well as a trial date certain for

September, October, November or December 2019 that is mutually convenient for all parties

involved.




                                                 2
    Case: 1:17-cv-09286 Document #: 55 Filed: 08/13/18 Page 3 of 4 PageID #:348




       11.     This Court has authority pursuant to Federal Rule 16 of Civil Procedure to enter an

Order setting expert disclosure deadlines and a date for trial. F.R.C.P. 16(b)(3)(B)(i), (vi).

       WHEREFORE, Plaintiffs respectfully request that this Court grant Plaintiffs’ Motion For

Scheduling Order and Trial Date Certain, and enter an order to set expert disclosures and

depositions deadlines, and a trial date certain for September, October, November or December.



Dated August 13, 2018

                                               Devon Bank, as Guardian of the Estate of
                                               ALAYNA HIKE, and RHONDA Jones,
                                               individually, Plaintiff.

                                               By counsel,

                                               /s/ Jack Beam
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                                                  3
    Case: 1:17-cv-09286 Document #: 55 Filed: 08/13/18 Page 4 of 4 PageID #:349




                                CERTIFICATE OF SERVICE

       I, Jack Beam, of Beam Legal Team, LLC, counsel for Plaintiffs, hereby certify that on
August 13, 2018, I electronically filed Plaintiffs’ Motion For Scheduling Order and Trial Date
Certain with the Clerk of the Court using the CM/ECF system which will send notification to the
following CM/ECF participants. I further certify that on this date, a copy of same was sent to all
counsel of record via electronic mail as indicated below.

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                                             /s/ Jack Beam
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                                                4
